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 6
 7                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 8
 9   UNITED STATES OF AMERICA,
                                                   4:21-CR-6028-RMP-3
10
                                 Plaintiff,
11
                       vs.                         Notice of Non-Scannable Exhibit
12
13   JOEL CHAVEZ-DURAN,                            TO BE RESTRICTED
14
                                Defendant.
15
16         Plaintiff, United States of America, by and through Joseph H. Harrington,

17 Acting United States Attorney for the Eastern District of Washington, and Stephanie
18 Van Marter, Assistant United States Attorney for the Eastern District of Washington,
19 submits the following notice of non-scannable exhibit.
20      On August 30, 2021, the United States’ filed its Response to Motion to

21 Suppress in the above referenced cause. Attachment C contains electronic media that
22 cannot be filed as a .pdf document on CM/ECF. Electronic copies of Attachment C
23 has been provided to the Court and a copy has been made available for defense.
24       Dated: August 31, 2021.

25                                               Joseph H. Harrington
26                                               Acting United States Attorney
                                                 s/ Stephanie Van Marter
27                                               Stephanie Van Marter
                                                 Assistant United States Attorney
28
29 Notice of Non-Scannable Exhibit - 1
30
      Case 4:21-cr-06028-MKD     ECF No. 64   filed 08/31/21   PageID.221 Page 2 of 2




 1                             CERTIFICATE OF SERVICE
 2
 3        I hereby certify that on August 31, 2021, I electronically filed the foregoing
 4 with the Clerk of the Court using the CM/ECF system which will send notification of
 5 such filing to the following and/or I hereby certify that I have mailed by United States
 6 Postal Service the document to the following non-CM/ECF participant(s):
 7
          Adam Pechtel
 8        adam@pechtellaw.com
 9                                               s/ Stephanie Van Marter
                                                 Stephanie Van Marter
10                                               Assistant United States Attorney
11
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29 Notice of Non-Scannable Exhibit - 2
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